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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND
                                 BALTIMORE DIVISION

KERI EVERHART,
324 Key Avenue
Baltimore, MD 21225
    Baltimore City,                               Civil Action No. __________
               Plaintiff,
                                                  COMPLAINT
       v.                                         (Unlawful Debt Collection Practices)
CHASE BANK USA, N.A.,
201 North Walnut Street                           JURY TRIAL DEMANDED
Wilmington, DE 19801
        SERVE:
The Corporation Trust Company Corporation
Trust Center
1209 Orange Street
Wilmington, DE 19801
               Defendant.

                                         COMPLAINT

       Plaintiff, Keri Everhart, by and through her attorneys, hereby brings this Complaint against

Defendant, Chase Bank USA, N.A., alleging as follows:

       1.      Plaintiff brings this action on behalf of herself individually seeking damages and

any other available legal or equitable remedies resulting from the illegal actions of Defendant, in

negligently, knowingly, and/or willfully contacting Plaintiff on Plaintiff’s cellular telephone in

violation of the Telephone Consumer Protection Act (hereinafter “TCPA”), the Maryland

Consumer Debt Collection Act (“MCDCA”), Md. Code Ann., Com. Law § 14–201 et seq., and

the Maryland Consumer Protection Act (“MCPA”) Md. Code Ann., Com. Law §§ 13-101 et seq.

                                JURISDICTION AND VENUE

   2. Since Defendant conducts business in the state of Maryland, this Honorable Court has

personal jurisdiction over Defendant.

   3. Subject-matter jurisdiction of this Court arises under 28 U.S.C. § 1331 and 47 U.S.C.

§227(b)(3). See Mims v. Arrow Financial Services, LLC, 565 U.S. 368 (2012), holding that
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federal and state courts have concurrent jurisdiction over private suits arising under the TCPA. 28

U.S.C. § 1367 grants this court supplemental jurisdiction over the state law claims contained

herein.

   4. Venue is proper in the United States District Court for the District of Maryland pursuant

to 28 U.S.C § 1391(b)(2) because Plaintiff resides within this District and a substantial part of the

events or omissions giving rise to the herein claims occurred within this District.

                                              PARTIES

   5. Plaintiff is a natural person residing in Baltimore City, in the city of Baltimore, Maryland.

   6. Defendant is a nationally chartered bank doing business in the state of Maryland, with its

principal place of business in Wilmington, Delaware.

   7. At all times relevant to this Complaint, Defendant has acted through its agents, employees,

officers, members, directors, heir, successors, assigns, principals, trustees, sureties, subrogees,

representatives and insurers.

                                    FACTUAL ALLEGATIONS

   8. Defendant is a “person” as defined by 47 U.S.C. §153 (39).

   9. Defendant placed collection calls to Plaintiff seeking and attempting to collect on alleged

debts incurred through purchases made on credit issued by Defendant.

   10. Defendant placed collection calls to Plaintiff’s cellular telephone at phone number (410)

762-80XX.

   11. Defendant placed collection calls to Plaintiff from various phone numbers including, but

not limited to (210) 520-0004, (847) 426-9209, (813) 372-1900, (847) 426-9145, (800) 313-4150,

(407) 732-2415 and (888) 694-6909.

   12. Per its prior business practices, Defendant’s calls were placed with an automated telephone

dialing system (“auto-dialer”).




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   13. Defendant used an “automatic telephone dialing system”, as defined by 47 U.S.C. § 227(a)

(1) to place its telephone calls to Plaintiff seeking to collect a consumer debt allegedly owed by

Plaintiff, Keri Everhart.

   14. Defendant’s automated calls to Plaintiff were not for emergency purposes as defined by

47 U.S.C. § 227(b)(1)(A).

   15. Defendant’s calls were placed to a telephone number assigned to a cellular telephone

service for which Plaintiff incurs a charge for incoming calls pursuant to 47 U.S.C. § 227(b)(1).

   16. Defendant never received Plaintiff’s “prior express consent” to receive calls using an

automatic telephone dialing system or an artificial or prerecorded voice on her cellular telephone

pursuant to 47 U.S.C. § 227(b)(1)(A).

   17. On or about December 18, 2017, Plaintiff called Defendant’s company line at phone

number (210) 520-0004, spoke with Defendant’s male representative who identified himself as

“E36350” and requested that Defendant cease calling Plaintiff’s cellular phone.

   18. During the conversation, Plaintiff gave Defendant both her phone number and social

security number to assist Defendant in identifying her and accessing her account before asking

Defendant to stop calling her cellular telephone.

   19. Plaintiff revoked any consent, explicit, implied, or otherwise, to call her cellular telephone

and/or to receive Defendant’s calls using an automatic telephone dialing system in her

conversation with Defendant’s representative on December 18, 2017.

   20. Despite Plaintiff’s request to cease, Defendant continued to place collection calls to

Plaintiff on December 26, 2017.

   21. Defendant continued to place collection calls to Plaintiff, at least, through May 2018.

   22. Despite Plaintiff’s request that Defendant cease placing automated collection calls,

Defendant placed at least sixty-seven (67) automated calls to Plaintiff’s cellular phone.

        COUNT I - NEGLIGENT VIOLATIONS OF THE TELEPHONE CONSUMER
                       PROTECTION ACT 47 U.S.C. § 227




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   23. Plaintiff repeats and incorporates by reference into this cause of action the allegations set

forth above at Paragraphs 1-22.

   24. The foregoing acts and omissions of Defendant constitute numerous and multiple

negligent violations of the TCPA, including but not limited to each and every one of the above

cited provisions of 47 U.S.C. § 227 et seq.

   25. As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et seq., Plaintiff is

entitled to an award of $500.00 in statutory damages, for each and every violation, pursuant to 47

U.S.C. § 227(b)(3)(B).

   26. Plaintiff is also entitled to seek injunctive relief prohibiting such conduct in the future.

    COUNT II - KNOWING AND/OR WILLFUL VIOLATIONS OF THE TELEPHONE
              CONSUMER PROTECTION ACT 47 U.S.C. § 227 et. seq.

   27. Plaintiff repeats and incorporates by reference into this cause of action the allegations set

forth above at Paragraphs 1-22.

   28. The foregoing acts and omissions of Defendant constitute numerous and multiple knowing

and/or willful violations of the TCPA, including but not limited to each and every one of the above

cited provisions of 47 U.S.C. § 227 et seq.

   29. As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. § 227 et seq.,

Plaintiff is entitled an award of $1,500.00 in statutory damages, for each and every violation,

pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

   30. Plaintiff is also entitled to seek injunctive relief prohibiting such conduct in the future.

                         COUNT III - VIOLATIONS OF
        THE MARYLAND CONSUMER DEBT COLLECTION ACT (“MCDCA”)
           AND MARYLAND CONSUMER PROTECTION ACT (“MCPA”)
        MD. CODE ANN., COM. LAW §§ 14-201 ET SEQ. AND §§ 13-101 ET SEQ.

   31. Plaintiff repeats and incorporates by reference into this cause of action the allegations set

       forth above at Paragraphs 1-22.




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   32. Defendant violated the Maryland Consumer Protection Act based on the following:

        a. Defendant violated §13-301(14) of the MCPA by continuously failing to comply with

            the statutory regulations contained within the Maryland Consumer Debt Collection

            Act, § 14-201 et seq.

        b. Defendant’s conduct of repeatedly and continuously calling Plaintiff on her cellular

            phone, even after Plaintiff required Defendant to cease doing so, was made to harass

            and abuse the Plaintiff and cause her undue telephone expenses, in violation of §14-

            202(6) of the MCDCA.

                                    PRAYER FOR RELIEF

   WHEREFORE, Plaintiff, KERI EVERHART, respectfully requests judgment be entered

against Defendant, CHASE BANK USA, N.A., for the following:

                                           COUNT I

   a. Awarding Plaintiff statutory damages of $500.00 multiplied by the number of TCPA
      negligent violations alleged herein: sixty-seven (67) for a total of $33,500.00; and
   b. Awarding Plaintiff actual damages and compensatory damages according to proof at time
      of trial.
                                          COUNT II

   a. Awarding Plaintiff statutory damages of $1,500.00 multiplied by the number of TCPA

      willful violations alleged herein: sixty-seven (67) for a total of $100,500.00; and

   b. Awarding Plaintiff actual damages and compensatory damages according to proof at time

      of trial.

                                           COUNT III

   a. Actual damages and compensatory damages according to proof at time of trial;

   b. Litigation costs and reasonable attorney’s fees, as mandated by applicable MCPA § 13-

      408(b);

   c. Any other relief that this Honorable Court deems appropriate.



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                                        JURY DEMAND

   33. Plaintiff respectfully demands a trial by jury on all issues so triable.


                                              Respectfully submitted by,


Dated: August 23, 2018                        /s/ Anitra Ash-Shakoor
                                              Anitra Ash-Shakoor
                                              (Federal Bar No. 18701)
                                              Capital Justice
                                              1300 I Street NW, Suite 400E
                                              Washington, DC 20005
                                              Tel. (202) 465-0888
                                              Fax. (202) 827-0089
                                              Email: a.ashshakoor@capitaljustice.com


                                              Carlos C. Alsina-Batista
                                              (admission pro hac vice pending)
                                              The Law Offices of Jeffrey Lohman, P.C.
                                              4740 Green River Road, Suite 310
                                              Corona, CA 92880
                                              Tel. (657) 363-3331
                                              Fax. (657) 246-1311
                                              Email: CarlosA@jlohman.com




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